Case 2:20-cv-12880-JMV-JSA Document 91 Filed 08/30/21 Page 1 of 1 PageID: 2111




 UNITED STATES DISTRICT COURT
 DISTRICT OF NEW JERSEY


   DANIEL D’AMBLY,
                                                      Motion For Withdrawal of
                   - AGAINST -
                                                       Appearance as Counsel
   CHRISTIAN EXOO ET AL,
                                                           20 Civ. 12880
                  DEFENDANTS.



      PLEASE TAKE NOTICE that, pursuant to New Jersey Disciplinary Rule of

Professional Conduct 1.16, I, Victoria N. Medley, an associate with ZMO Law, PLLC, co-

counsel for defendant Christian Exoo in the above-captioned action, hereby withdraw as

attorney of record. I am starting a new job as a Court Attorney with the Honorable Adam

D. Perlmutter in Kings County Criminal Court on September 2, 2021. Co-counsel

Christopher Marlborough and Richard Torres will continue to serve as counsel of record

for Mr. Exoo in the above-referenced matter. I hereby request that my name and email

address be removed from the case’s official docket.

Dated: August 30, 2021
New York, New York


Respectfully submitted,

By: __s/Victoria Nicole Medley____________________________
    Victoria Medley
    260 Madison Avenue, 17th Fl.
    New York, NY 10016
    (212) 685-0999




                                            1
